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                                               PRECEDENTIAL

            UNITED STATES COURT OF APPEALS
                 FOR THE THIRD CIRCUIT
                    ________________

        Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-0007,
               22-2008, 22-2009, 22-2010, 22-2011
                       ________________

                In re: LTL MANAGEMENT, LLC
                                       Debtor

                  LTL MANAGEMENT, LLC

                                v.

        THOSE PARTIES LISTED ON APPENDIX A TO
                     COMPLAINT
           AND JOHN AND JANE DOES 1-1000

       *OFFICIAL COMMITTEE OF TALC CLAIMANTS,
       Appellant in case Nos. 22-2003, 22-2004 and 22-2005

      *OFFICIAL COMMITTEE OF TALC CLAIMANTS;
                        PATRICIA COOK;
    EVAN PLOTKIN; RANDY DEROUEN; KRISTIE DOYLE,
       as estate representative of Dan Doyle; KATHERINE
                           TOLLEFSON;
     TONYA WHETSEL, as estate representative of Brandon
                               Wetsel;
      GIOVANNI SOSA; JAN DEBORAH MICHELSON-
                              BOYLE,
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         Appellants in case Nos. 22-2006, 22-2007 and 22-2008

    ARNOLD & ITKIN LLP, on behalf of certain personal injury
          claimants represented by Arnold & Itkin,
                Appellant in case No. 22-2009

     AYLSTOCK WITKIN KREIS & OVERHOLTZ PLLC, on
                        behalf of more
          than three thousand holders of talc claims,
           Appellant in case Nos. 22-2010 and 22-2011

         *(Amended per Court’s Order dated 06/10/2022)



         Appeal from the United States Bankruptcy Court
                   for the District of New Jersey
         (District Court No.: 21-bk-30589; 21-ap-03032)
         Bankruptcy Judge: Honorable Michael B. Kaplan



                   Argued September 19, 2022

       Before AMBRO, RESTREPO, and FUENTES, Circuit
                         Judges

                (Opinion filed: January 30, 2023)




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                     OPINION OF THE COURT
                       __________________


    AMBRO, Circuit Judge

           Johnson & Johnson Consumer Inc. (“Old Consumer”),
    a wholly owned subsidiary of Johnson & Johnson (“J&J”), sold
    healthcare products with iconic names branded on consumers’
    consciousness—Band-Aid, Tylenol, Aveeno, and Listerine, to
    list but a few. It also produced Johnson’s Baby Powder,
    equally recognizable for well over a century as a skincare
    product. Its base was talc, a mineral mined and milled into a
    fine powder. Concerns that the talc contained traces of
    asbestos spawned in recent years a torrent of lawsuits against
    Old Consumer and J&J alleging Johnson’s Baby Powder has
    caused ovarian cancer and mesothelioma. Some of those suits
    succeeded in verdicts, some failed (outright or on appeal), and
    others settled. But more followed into the tens of thousands.

             With mounting payouts and litigation costs, Old
    Consumer, through a series of intercompany transactions
    primarily under Texas state law, split into two new entities:
    LTL Management LLC (“LTL”), holding principally Old
    Consumer’s liabilities relating to talc litigation and a funding
    support agreement from LTL’s corporate parents; and Johnson
    & Johnson Consumer Inc. (“New Consumer”), holding
    virtually all the productive business assets previously held by
    Old Consumer. J&J’s stated goal was to isolate the talc
    liabilities in a new subsidiary so that entity could file for




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    Chapter 11 without subjecting Old Consumer’s entire
    operating enterprise to bankruptcy proceedings.

            Two days later, LTL filed a petition for Chapter 11
    relief in the Bankruptcy Court for the Western District of North
    Carolina. That Court, however, transferred the case to the
    Bankruptcy Court for the District of New Jersey.

           Talc claimants there moved to dismiss LTL’s
    bankruptcy case as not filed in good faith. The Bankruptcy
    Court, in two thorough opinions, denied those motions and
    extended the automatic stay of actions against LTL to hundreds
    of nondebtors that included J&J and New Consumer. Appeals
    followed and are consolidated before us.

            We start, and stay, with good faith. Good intentions—
    such as to protect the J&J brand or comprehensively resolve
    litigation—do not suffice alone. What counts to access the
    Bankruptcy Code’s safe harbor is to meet its intended
    purposes. Only a putative debtor in financial distress can do
    so. LTL was not. Thus we dismiss its petition.

    I. BACKGROUND

             A. J&J, Baby Powder, and Old Consumer

             The story of LTL begins with its parent company, J&J.
    It is a global company and household brand well-known to the
    public for its wide range of products relating to health and well-
    being. Many are consumer staples, filling pharmacies,
    supermarkets, and medicine cabinets throughout the country
    and beyond.




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          One of these products was Johnson’s Baby Powder, first
    sold by J&J in 1894. It became particularly popular, being
    used by or on hundreds of millions of people at all stages of
    life.

          J&J has not always sold baby powder directly, though.
    In 1979, it transferred all assets associated with its Baby
    Products division, including Johnson’s Baby Powder, to
    Johnson & Johnson Baby Products Company (“J&J Baby
    Products”), a wholly owned subsidiary (the “1979 Spin-Off”).
    A series of further intercompany transactions in ensuing
    decades ultimately transferred Johnson’s Baby Powder to Old
    Consumer.

            So since 1979 only Old Consumer and its predecessors,
    and not J&J, have directly sold Johnson’s Baby Powder. LTL
    maintains that the 1979 Spin-Off included an agreement
    between J&J and J&J Baby Products that makes Old
    Consumer, as successor to the latter, responsible for
    indemnifying J&J for all past, present, and future liabilities
    stemming from Johnson’s Baby Powder. Thus, according to
    LTL, Old Consumer was liable for all claims relating to
    Johnson’s Baby Powder, either directly or indirectly through
    its responsibility to indemnify J&J.

                      B. Baby Powder Litigation

           Talc triggered little litigation against J&J entities before
    2010. There had been but a small number of isolated claims
    alleging the products caused harms such as talcosis (a lung
    disease caused by inhalation of talc dust or talc), mesothelioma
    (a cancer of organ membranes, typically in the lungs,
    associated with exposure to asbestos), and rashes. But trials in




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    2013 and 2016 resulted in jury verdicts for plaintiffs alleging
    Old Consumer’s talc-based products caused ovarian cancer.
    Despite the first resulting in no monetary award, and the
    second being reversed on appeal, these trials ushered in a wave
    of lawsuits alleging Johnson’s Baby Powder caused ovarian
    cancer and mesothelioma.1 Governmental actions, including
    the U.S. Food and Drug Administration’s finding of asbestos
    traces in a sample of Johnson’s Baby Powder in 2019 and
    Health Canada’s confirmation in 2021 of its 2018 finding of a
    significant association between exposure to talc and ovarian
    cancer, also heightened J&J’s and Old Consumer’s potential
    exposure.

           With the door wide open, over 38,000 ovarian cancer
    actions (most consolidated in federal multidistrict litigation in
    New Jersey) and over 400 mesothelioma actions were pending
    against Old Consumer and J&J when LTL filed its Chapter 11
    petition. Expectations were for the lawsuits to continue, with
    thousands more in decades to come. The magnitude of the
    award in one case also raised the stakes. There, a Missouri jury
    awarded $4.69 billion to 22 ovarian cancer plaintiffs, reduced
    on appeal to $2.24 billion to 20 plaintiffs who were not
    dismissed. Ingham v. Johnson & Johnson, 608 S.W.3d 663
    (Mo. Ct. App. 2020), cert. denied, 141 S. Ct. 2716 (2021).

    1
      The talc litigation also involves claims regarding Shower to
    Shower, a different talc-containing product initially produced
    by J&J and later by Old Consumer and its predecessors. LTL
    maintains intercompany transactions involving J&J and Old
    Consumer ultimately made the latter responsible for all claims
    stemming from Shower to Shower. Because the talc litigation
    concerns mainly Johnson’s Baby Powder, for convenience
    references herein to that name may include other talc products.




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            Yet other trials reaching verdicts for plaintiffs were not
    so damaging to J&J entities. Since 2018, damages in all other
    monetary awards to plaintiffs that were not reversed averaged
    about $39.7 million per claim. Moreover, Old Consumer and
    J&J often succeeded at trial. According to LTL’s expert, of 15
    completed ovarian cancer trials, only Ingham resulted in a
    monetary award for the plaintiffs that was not reversed; and of
    28 completed mesothelioma trials, fewer than half resulted in
    monetary awards for the plaintiffs that were not reversed (and
    many of those were on appeal at the time of LTL’s bankruptcy
    filing). In addition, Old Consumer and J&J often avoided trial
    before bankruptcy, settling roughly 6,800 talc-related claims
    for just under $1 billion in total and successfully obtaining
    dismissals without payment of about 1,300 ovarian cancer, and
    over 250 mesothelioma, actions.

           Undoubtedly, the talc litigation put financial pressure
    on Old Consumer.            Before LTL’s petition, it paid
    approximately $3.5 billion for talc-related verdicts and
    settlements. It also paid nearly $1 billion in defense costs, and
    the continuing run rate was between $10 million to $20 million
    per month. LTL’s expert identified talc-related costs as a
    primary driver that caused the income before tax of J&J’s
    Consumer Health business segment (for which Old Consumer
    was the primary operating company in the U.S.) to drop from
    a $2.1 billion profit in 2019 to a $1.1 billion loss in 2020.

          Old Consumer also faced billions in contested
    indemnification obligations to its bankrupt talc supplier,
    Imerys Talc America, Inc. and affiliates (collectively
    “Imerys”), as well as parties who had owned certain of
    Imerys’s talc mines. These remained after J&J’s settlement




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    proposal of about $4 billion to $5 billion in the Imerys
    bankruptcy case—which, per LTL, had been tentatively agreed
    by attorneys for talc plaintiffs—ultimately fell through by June
    2021. An LTL representative testified that, if that proposal
    succeeded, it would have settled (subject to an opt-out)
    virtually all ovarian cancer claims in the multidistrict tort
    litigation and corresponding additional claims against J&J
    entities in the Imerys case. Old Consumer was also the target
    of both state and federal talc-related governmental complaints
    and investigations, as well as securities and shareholder
    actions, that could result in their own financial penalties and
    defense costs. LTL’s expert opined, and the Bankruptcy Court
    accepted, that the total talc-related liabilities threatened Old
    Consumer’s ability to make substantial talc-related payments
    from working capital or other readily marketable assets while
    funding its costs of operations (including marketing,
    distribution, research and development).

             Still, Old Consumer was a highly valuable enterprise,
    estimated by LTL to be worth $61.5 billion (excluding future
    talc liabilities), with many profitable products and brands. And
    much of its pre-filing talc costs were attributable to the
    payment of one verdict, Ingham, a liability J&J described in
    public securities filings as “unique” and “not representative of
    other claims.” App. 2692-93. Further, while it allocated all
    talc-related payments to Old Consumer per the 1979 Spin-Off,
    J&J functionally made talc payments from its accounts and
    received an intercompany payable from Old Consumer in
    return. Addressing the scope of its litigation exposure in an
    October 2021 management representation letter to its auditors,
    J&J valued its and its subsidiaries’ probable and reasonably
    estimable contingent loss for products liability litigation,
    including for talc, under Generally Accepted Accounting




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    Principles (“GAAP”), at $2.4 billion for the next 24 months.2
    It also continued to stand by the safety of its talc products and
    deny liability relating to their use.

           Consistent with their fiduciary duties, and likely spurred
    by the U.S. Supreme Court’s denial of certiorari in Ingham,
    members of J&J’s management explored ways to mitigate Old
    Consumer’s exposure to talc litigation. In a July 2021 email
    with a ratings agency, J&J’s treasurer described a potential
    restructuring that would capture all asbestos liability in a
    subsidiary to be put into bankruptcy.

        C. Corporate Restructuring and Divisional Merger

           On October 12, 2021, Old Consumer moved forward
    with this plan, undergoing a corporate restructuring relying
    principally on a merger under Texas law. Counterintuitively,
    this type of merger involves “the division of a [Texas] entity
    into two or more new . . . entities.” Tex. Bus. Orgs. Code Ann.
    § 1.002(55)(A); see generally id. §§ 10.001 et seq. When the
    original entity does not survive the merger, it allocates its
    property, liabilities, and obligations among the new entities
    according to a plan of merger and, on implementation, its
    separate existence ends. Id. §§ 10.003, 10.008(a)(1). Except
    as otherwise provided by law or contract, no entity created in
    the merger is “liable for the debt or other obligation” allocated
    to any other new entity. Id. § 10.008(a)(4). In simplified
    terms, the merger splits a legal entity into two, divides its assets

    2
      Adam Lisman, assistant controller for J&J, suggested in his
    trial testimony that it was J&J’s general policy to consider the
    next 24 months when calculating contingent costs under
    GAAP.




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    and liabilities between the two new entities, and terminates the
    original entity. While some pejoratively refer to it as the first
    step in a “Texas Two-Step” when followed by a bankruptcy
    filing, we more benignly call it a “divisional merger.”

            In our case, Old Consumer’s restructuring was designed
    as a series of reorganizational steps with the divisional merger
    at center.3 Ultimately, the restructuring created two new
    entities, LTL and New Consumer, and on its completion Old
    Consumer ceased to exist. It also featured the creation of a
    Funding Agreement, which had Old Consumer stand in
    momentarily as the payee, but ultimately (after some corporate
    maneuvers4) gave LTL rights to funding from New Consumer
    and J&J.

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       A slightly abbreviated summary of the many steps is as
    follows. Old Consumer merged into Chenango Zero, LLC, a
    Texas limited liability company and indirect, wholly owned
    subsidiary of J&J (“Chenango Zero”), with Chenango Zero
    surviving the merger.       Chenango Zero (formerly Old
    Consumer) effected a divisional merger under the Texas
    Business Organizations Code by which two new Texas limited
    liability companies were created, Chenango One LLC
    (“Chenango One”) and Chenango Two LLC (“Chenango
    Two”), and Chenango Zero ceased to exist. Chenango One
    then converted into a North Carolina limited liability company
    and changed its name to “LTL Management LLC.” Chenango
    Two merged into Curahee Holding Company Inc., the direct
    parent company of LTL (“Curahee”). Curahee survived the
    merger and changed its name to “Johnson & Johnson
    Consumer Inc.” (now New Consumer).
    4
      On the day of the divisional merger, the Funding Agreement
    was executed by Chenango Zero (formerly Old Consumer), as




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            As the most important step, the merger allocated LTL
    responsibility for essentially all liabilities of Old Consumer
    tied to talc-related claims.5 This meant, among other things, it
    would take the place of Old Consumer in current and future
    talc lawsuits and be responsible for their defense.

             Old Consumer also transferred to LTL assets in the
    merger, including principally the former’s contracts related to
    talc litigation, indemnity rights, its equity interests in Royalty
    A&M LLC (“Royalty A&M”), and about $6 million in cash.
    Carved out from Old Consumer and its affiliates just before the
    divisional merger, Royalty A&M owns a portfolio of royalty
    streams that derive from consumer brands and was valued by
    LTL at approximately $367.1 million.

            Of the assets Old Consumer passed to LTL, most
    important were Old Consumer’s rights as a payee under the
    Funding Agreement with J&J and New Consumer. On its
    transfer, that gave LTL, outside of bankruptcy, the ability to
    cause New Consumer and J&J, jointly and severally, to pay it
    cash up to the value of New Consumer for purposes of
    satisfying any talc-related costs as well as normal course


    payee, along with J&J and Curahee, as payors. Then, per the
    divisional merger, LTL was allocated rights as payee under the
    Funding Agreement, replacing Chenango Zero. Chenango
    Two (which assumed Old Consumer’s assets not allocated to
    LTL) then merged into Curahee, one of the two original payors,
    and became New Consumer.
    5
      LTL’s liability was for all talc claims except those where the
    exclusive remedy existed under a workers’ compensation
    statute or similar laws.




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    expenses. In bankruptcy, the Agreement gave LTL the right to
    cause New Consumer and J&J, jointly and severally, to pay it
    cash in the same amount to satisfy its administrative costs and
    to fund a trust, created in a plan of reorganization, to address
    talc liability for the benefit of existing and future claimants. In
    either scenario, there were few conditions to funding and no
    repayment obligation.6 The value of the payment right could
    not drop below a floor defined as the value of New Consumer
    measured as of the time of the divisional merger, estimated by
    LTL at $61.5 billion, and was subject to increase as the value
    of New Consumer increased after it.7

            On the other side of the divisional-merger ledger, New
    Consumer received all assets and liabilities of Old Consumer
    not allocated to LTL. It thus held Old Consumer’s productive
    business assets, including its valuable consumer products, and,
    critically, none of its talc-related liabilities (except those
    related to workers’ compensation).            After this, the
    organizational chart was reshuffled to make New Consumer
    the direct parent company of LTL.


    6
      For LTL to require J&J and New Consumer to fund, certain
    customary representations and warranties made by LTL must
    be true, such as those addressing its good standing under state
    law, the due authorization of the Funding Agreement, and the
    absence of any required governmental approval. And LTL
    must not have violated its covenants, specifically, that it will
    use the funds for only permitted uses and materially perform
    its indemnification obligations owed to New Consumer for all
    talc liabilities as set out in the plan of divisional merger.
    7
      In each calculation of New Consumer’s value, its obligation
    under the Funding Agreement is not included.




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            When the ink dried, LTL—having received Old
    Consumer’s talc liability, rights under the Funding Agreement,
    a royalties business, and cash—was prepared to fulfill its
    reason for being: a bankruptcy filing. Meanwhile, New
    Consumer began operating the business formerly held by Old
    Consumer and would essentially remain unaffected (save for
    its funding obligation) by any bankruptcy filing of LTL.

            LTL became in bankruptcy talk the “bad company,” and
    New Consumer became the “good company.” This completed
    the first steps toward J&J’s goal of “globally resolv[ing] talc-
    related claims through a chapter 11 reorganization without
    subjecting the entire Old [Consumer] enterprise to a
    bankruptcy proceeding.” App. 450 (Decl. of John Kim 6).

        D. LTL Bankruptcy Filing and Procedural History

            On October 14, 2021, two days after the divisional
    merger, LTL filed a petition for Chapter 11 relief in the
    Bankruptcy Court for the Western District of North Carolina.
    It also sought (1) to extend the automatic stay afforded to it
    under the Bankruptcy Code to talc claims arising from
    Johnson’s Baby Powder asserted against over six hundred
    nondebtors (the “Third-Party Claims”), including affiliates
    such as J&J and New Consumer, as well as insurers and third-
    party retailers (all nondebtors collectively the “Protected
    Parties”), or alternatively, (2) a preliminary injunction
    enjoining those claims. LTL’s first-day filings described the
    bankruptcy as an effort to “equitably and permanently resolve
    all current and future talc-related claims against it through the
    consummation of a plan of reorganization that includes the
    establishment of a [funding] trust.” App. 3799 (LTL’s Compl.
    for Decl. and Inj. Relief 2); App. 316 (LTL’s Info. Br. 1).




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            A month later, the North Carolina Bankruptcy Court
    issued an order enjoining Third-Party Claims against the
    Protected Parties. But the order expired after 60 days and
    would not bind a subsequent court. The next day, following
    motions from interested parties (including representatives for
    talc claimants) and a Show Cause Order, the Court transferred
    LTL’s Chapter 11 case to the District of New Jersey under 28
    U.S.C. § 1412. It rejected what it viewed as LTL’s effort to
    “manufacture venue” and held that a preference to be subject
    to the Fourth Circuit’s two-prong bankruptcy dismissal
    standard8 could not justify its filing in North Carolina. App.
    1515 (N.C. Transfer Order 10).




    8
      In the Fourth Circuit, a court can only dismiss a bankruptcy
    petition for lack of good faith on a showing of the debtor’s
    “subjective bad faith” and the “objective futility of any
    possible reorganization.” Carolin Corp. v. Miller, 886 F.2d
    693, 694 (4th Cir. 1989). The Bankruptcy Court in the District
    of New Jersey described this as a “much more stringent
    standard for dismissal of a case for lacking good faith” than the
    Third Circuit’s test. App. 13 (Mot. to Dismiss Op. 13).
    Perhaps not by coincidence then, debtors formed by divisional
    mergers and bearing substantial asbestos liability seem to
    prefer filing in the Fourth Circuit, with four such cases being
    filed in the Western District of North Carolina in the years
    before LTL’s filing. See In re Bestwall LLC, Case No. 17-
    31795 (Bankr. W.D.N.C.); In re DBMP LLC, Case No. 20-
    30080 (Bankr. W.D.N.C.); In re Aldrich Pump LLC, Case No.
    20-30608 (Bankr. W.D.N.C.); In re Murray Boiler LLC, Case
    No. 20-30609 (Bankr. W.D.N.C.).




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           With the case pending in the Bankruptcy Court for the
    District of New Jersey, the Official Committee of Talc
    Claimants (the “Talc Claimants’ Committee”) moved to
    dismiss LTL’s petition under § 1112(b) of the Bankruptcy
    Code as not filed in good faith. Soon after, Arnold & Itkin
    LLP, on behalf of talc claimants it represented (“A&I”), also
    moved for dismissal on the same basis. LTL opposed the
    motions. Two other law firms—including Aylstock, Witkin,
    Kreis & Overholtz, PLLC, on behalf of talc claimants
    (“AWKO”)—joined the motions. For ease of reference, we
    refer collectively to the Talc Claimants’ Committee, A&I, and
    AWKO as the “Talc Claimants.”

          At the same time, LTL urged the New Jersey
    Bankruptcy Court to extend the soon-to-expire order enjoining
    Third-Party Claims against the Protected Parties. The Talc
    Claimants’ Committee and AWKO opposed this motion.

            In February 2022, the Bankruptcy Court held a five-day
    trial on the motions to dismiss and LTL’s third-party injunction
    motion. It denied soon thereafter the motions to dismiss and
    granted the injunction motion. App. 1, 57, 140, 194 (Mot. to
    Dismiss Op.; Mot. to Dismiss Order; Third-Party Inj. Op.;
    Third-Party Inj. Order).

           In its opinion addressing the motions to dismiss, the
    Bankruptcy Court applied Third Circuit case law and held that
    LTL filed its bankruptcy petition in good faith. The Court
    ruled the filing served a valid bankruptcy purpose because it
    sought to resolve talc liability by creating a trust for the benefit
    of claimants under § 524(g) of the Bankruptcy Code. At a high
    level, that provision allows a debtor satisfying certain
    conditions to establish, in a plan of reorganization, a trust for




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    the benefit of current and future claimants against which an
    injunction channels all asbestos litigation.9 The Court
    highlighted what it viewed as several benefits of claims
    administration through a § 524(g) trust, compared to mass
    asbestos litigation in trial courts, including the possibility it
    could resolve claims more efficiently (from both a cost and
    time perspective), ensure more balanced recoveries among
    claimants, and preserve funds for future claimants.

            The Court also held LTL was in financial distress. It
    focused on the scope of litigation faced by Old Consumer (and
    transferred to LTL), the historic costs incurred by Old
    Consumer in connection with talc litigation, and the effect of
    these costs on its business. It suggested that extrapolating this
    talc liability into the future showed the “continued viability of
    all J&J companies [was] imperiled.” App. 36 (Mot. to Dismiss
    Op. 36). Yet it appeared to doubt LTL would completely
    exhaust its payment right under the Funding Agreement. App.
    35 (Id. at 35).

            Finally, the Court determined LTL’s corporate
    restructuring and bankruptcy were not undertaken to secure an
    unfair tactical litigation advantage against talc claimants, but
    constituted “a single integrated transaction” that did not
    prejudice creditors and eliminated costs that would otherwise
    be imposed on Old Consumer’s operating business had it been
    subject to bankruptcy. App. 43 (Id. at 43). The Court
    ultimately saw the bankruptcy forum as having a superior
    ability, compared to trial courts, to protect the talc claimants’

    9
      Under certain conditions, the injunction can also channel to
    the trust claims against third parties affiliated with the debtor.
    11 U.S.C. § 524(g)(4).




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    interests, viewing this as an “unusual circumstance[]” that
    precluded dismissal under 11 U.S.C. § 1112(b)(2). App. 13
    (Id. at 13 n.8).

            At the same time the Bankruptcy Court grappled
    substantively with existing Circuit case law, it made much of
    LTL’s novel design and the reasons for it. Its bankruptcy, the
    Court believed, presented a “far more significant issue” than
    equitable limitations on bankruptcy filings: “which judicial
    system [better served talc claimants]—the state/federal court
    trial system, or a trust vehicle established under a chapter 11
    reorganization plan . . . [in Bankruptcy Court].” App. 12-13
    (Id. at 12-13). Answering this question, it provided a full
    defense of its “strong conviction that the bankruptcy court is
    the optimal venue for redressing the harms of both present and
    future talc claimants in this case.” App. 19 (Id. at 19).10

           The Talc Claimants timely appealed the Bankruptcy
    Court’s order denying the motions to dismiss. The Talc
    Claimants’ Committee and AWKO also appealed the order
    enjoining Third-Party Claims against the Protected Parties. On
    request of the Talc Claimants, the Bankruptcy Court certified
    the challenged orders to our Court under 28 U.S.C. § 158(d)(2).


    10
       In the separate opinion explaining its order preserving the
    injunction of Third-Party Claims against Protected Parties, the
    Court held that “unusual circumstances” warranted extension
    of the automatic stay to those claims under Bankruptcy Code
    §§ 362(a)(1) and 362(a)(3). It also held that Bankruptcy Code
    § 105(a) provided it independent authority to issue a
    preliminary injunction enjoining them. App. 140 (Third-Party
    Inj. Op.).




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    In May 2022, we authorized direct appeal of the orders under
    the same statute.

          The Bankruptcy Court had jurisdiction of the
    bankruptcy case under, inter alia, 28 U.S.C. §§ 157(a) and
    1334(a).11 We have jurisdiction of the appeals under 28 U.S.C.
    § 158(d)(2)(A).

    II. ANALYSIS

                       A. Standard of Review

           We review for an abuse of discretion the Bankruptcy
    Court’s denial of the motions to dismiss the Chapter 11 petition
    for lack of good faith. In re 15375 Mem’l Corp. v. BEPCO,
    L.P., 589 F.3d 605, 616 (3d Cir. 2009). That exists when the
    decision “rests upon a clearly erroneous finding of fact, an
    errant conclusion of law, or an improper application of law to
    fact.” Id. (citation omitted). We give fresh (i.e., plenary or de
    novo) review to a conclusion of law and review for clear error
    findings of fact leading to the decision. Id.

           Facts subject to clear-error review include those that are
    basic, “the historical and narrative events elicited from the
    evidence presented at trial . . .,” and those that are inferred,
    which are “drawn from basic facts and are permitted only
    when, and to the extent that, logic and human experience
    indicate a probability that certain consequences can and do

    11
       The parties contest whether the Bankruptcy Court had
    jurisdiction to issue the order enjoining the Third-Party Claims
    against the Protected Parties. Dismissing LTL’s petition
    obviates the need to reach that question.




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    follow from the basic facts.” Universal Mins., Inc. v. C.A.
    Hughes & Co., 669 F.2d 98, 102 (3d Cir. 1981). These are
    distinguished from an “ultimate fact,” which is a “legal concept
    with a factual component.” Id. at 103. Examples include
    negligence or reasonableness. Wells Fargo, N.A. v. Bear
    Stearns & Co. (In re HomeBanc Mortg. Corp.), 945 F.3d 801,
    810 (3d Cir. 2019). Reviewing an ultimate fact, “we separate
    [its] distinct factual and legal elements . . . and apply the
    appropriate standard to each component.” Universal Mins.,
    669 F.2d at 103.

            Concluding a bankruptcy petition is filed in good faith
    is an “ultimate fact.” BEPCO, 589 F.3d at 616. While the
    underlying basic and inferred facts require clear-error review,
    the culminating determination of whether those facts support a
    conclusion of good faith gets plenary review as “essentially[]
    a conclusion of law.” Id. A conclusion of financial distress,
    like the broader good-faith inquiry of which it is a part,
    likewise is subject to mixed review. Whether financial distress
    exists depends on the underlying basic facts, such as the
    debtor’s ability to pay its current debts, and inferred facts, such
    as projections of how much pending and future liabilities (like
    litigation) could cost it in the future. But the conclusion, like
    good faith, gets a fresh look.

                             B. Good Faith

            Chapter 11 bankruptcy petitions are “subject to
    dismissal under 11 U.S.C. § 1112(b) unless filed in good
    faith.” BEPCO, 589 F.3d at 618 (citing NMSBPCSLDHB, L.P.
    v. Integrated Telecom Express, Inc. (In re Integrated Telecom
    Express, Inc.), 384 F.3d 108, 118 (3d Cir. 2004)). Section
    1112(b) provides for dismissal for “cause.” A lack of good




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    faith constitutes “cause,” though it does not fall into one of the
    examples of cause specifically listed in the statute. See In re
    SGL Carbon Corp., 200 F.3d 154, 159-62 (3d Cir. 1999).
    Because the Code’s text neither sets nor bars explicitly a good-
    faith requirement, we have grounded it in the “equitable nature
    of bankruptcy” and the “purposes underlying Chapter 11.” Id.
    at 161-62 (“A debtor who attempts to garner shelter under the
    Bankruptcy Code . . . must act in conformity with the Code’s
    underlying principles.”).

            Once at issue, the burden to establish good faith is on
    the debtor. BEPCO, 589 F.3d at 618 (citing Integrated
    Telecom, 384 F.3d at 118); SGL Carbon, 200 F.3d at 162 n.10.
    We “examine the totality of facts and circumstances and
    determine where a petition falls along the spectrum ranging
    from the clearly acceptable to the patently abusive.” BEPCO,
    589 F.3d at 618 (internal quotation marks omitted) (citing
    Integrated Telecom, 384 F.3d at 118). Though a debtor’s
    subjective intent may be relevant, good faith falls “more on
    [an] objective analysis of whether the debtor has sought to step
    outside the ‘equitable limitations’ of Chapter 11.” Id. at 618
    n.8 (citing SGL Carbon, 200 F.3d at 165).

           “[T]wo inquiries . . . are particularly relevant”: “(1)
    whether the petition serves a valid bankruptcy purpose[;] and
    (2) whether [it] is filed merely to obtain a tactical litigation
    advantage.” Id. at 618 (internal quotation marks omitted)
    (citing Integrated Telecom, 384 F.3d at 119-20). Valid
    bankruptcy purposes include “preserv[ing] a going concern” or
    “maximiz[ing] the value of the debtor’s estate.” Id. at 619.
    Further, a valid bankruptcy purpose “assumes a debtor in
    financial distress.” Integrated Telecom, 384 F.3d at 128.




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       C. Financial Distress as a Requirement of Good Faith

            Our precedents show a debtor who does not suffer from
    financial distress cannot demonstrate its Chapter 11 petition
    serves a valid bankruptcy purpose supporting good faith. We
    first applied this principle in SGL Carbon. The debtor there
    filed for Chapter 11 protection in the face of many antitrust
    lawsuits—in its words, to “protect itself against excessive
    demands made by plaintiffs” and “achieve an expeditious
    resolution of the claims.” 200 F.3d at 157. But we dismissed
    the petition for lack of good faith, relying on the debtor’s strong
    financial health. Id. at 162-70. We rejected arguments that the
    suits seriously threatened the company and could force it out
    of business, suggesting the magnitude of potential liability
    would not likely render it insolvent. Id. at 162-64. And the
    filing was premature, as one could be later made—without
    risking the debtor’s ability to reorganize—at a time a company-
    threatening judgment occurred. Id. at 163. Finally, in
    considering whether the petition served a valid bankruptcy
    purpose, we discerned none in light of the debtor’s substantial
    equity cushion and a lack of evidence suggesting it had trouble
    paying debts or impaired access to capital markets. Id. at 166.
    Were the debtor facing “serious financial and/or managerial
    difficulties at the time of filing,” the result may have been
    different. Id. at 164.

           Integrated Telecom made clear that “good faith
    necessarily requires some degree of financial distress on the
    part of a debtor.” 384 F.3d at 121 (emphasis added). That
    debtor was a non-operating, nearly liquidated shell company
    that was “highly solvent and cash rich at the time of the
    bankruptcy.” Id. at 124. And its financial condition was key
    to the petition’s dismissal. We said that Chapter 11 could not




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    improve its failing business model nor resolve pending
    securities litigation in a way that increased recoveries for
    creditors. Id. at 120-26. Thus the proceeding could preserve
    no “value that otherwise would be lost outside of bankruptcy,”
    showing those problems were not the kinds of financial issues
    Chapter 11 aimed to address. Id. at 120, 129. And absent
    financial distress, the debtor’s desire to benefit from certain
    Code provisions (such as those capping claims for future rents)
    could not justify its presence in bankruptcy. Id. at 126-29.

            We note that, when considering the whole of the
    circumstances in these decisions, we evaluated rationales for
    filing offered by the debtor that were only modestly related to
    its financial health—even after recognizing it was not in
    financial distress. Yet we rejected all of them and stuck to the
    debtor’s financial condition. Id.; SGL Carbon, 200 F.3d at
    167-68.

           The theme is clear: absent financial distress, there is no
    reason for Chapter 11 and no valid bankruptcy purpose.
    “Courts, therefore, have consistently dismissed . . . petitions
    filed by financially healthy companies with no need to
    reorganize under the protection of Chapter 11. . . . [I]f a
    petitioner has no need to rehabilitate or reorganize, its petition
    cannot serve the rehabilitative purpose for which Chapter 11
    was designed.” Integrated Telecom, 384 F.3d at 122 (quoting
    SGL Carbon, 200 F.3d at 166).

           But what degree of financial distress justifies a debtor’s
    filing? To say, for example, that a debtor must be in financial
    distress is not to say it must necessarily be insolvent. We
    recognize as much, as the Code conspicuously does not contain
    any particular insolvency requirement. See SGL Carbon, 200




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    F.3d at 163; Integrated Telecom, 384 F.3d at 121. And we need
    not set out any specific test to apply rigidly when evaluating
    financial distress. Nor does the Code direct us to apply one.

           Instead, the good-faith gateway asks whether the debtor
    faces the kinds of problems that justify Chapter 11 relief.
    Though insolvency is not strictly required, and “no list is
    exhaustive of all the factors which could be relevant when
    analyzing a particular debtor’s good faith,” SGL Carbon, 200
    F.3d at 166 n.16, we cannot ignore that a debtor’s balance-
    sheet insolvency or insufficient cash flows to pay liabilities (or
    the future likelihood of these issues occurring) are likely
    always relevant. This is because they pose a problem Chapter
    11 is designed to address: “that the system of individual
    creditor remedies may be bad for the creditors as a group when
    there are not enough assets to go around.” Integrated Telecom,
    384 F.3d at 121 (second set of italics added) (quoting Thomas
    H. Jackson, The Logic and Limits of Bankruptcy Law 10
    (1986)).

            Still, we cannot today predict all forms of financial
    difficulties that may in some cases justify a debtor’s presence
    in Chapter 11. Financial health can be threatened in other
    ways; for instance, uncertain and unliquidated future liabilities
    could pose an obstacle to a debtor efficiently obtaining
    financing and investment. As we acknowledged in SGL
    Carbon, certain financial problems or litigation may require
    significant attention, resulting in “serious . . . managerial
    difficulties.” 200 F.3d at 164. Mass tort cases may present
    these issues and others as well, like the exodus of customers
    and suppliers wary of a firm’s credit-risk. See, e.g., Mark J.
    Roe, Bankruptcy and Mass Tort, 84 Colum. L. Rev. 846, 855
    (1984) (describing the “adverse” and “severe” effects large-




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    scale, future tort claims may have on a firm). So many spokes
    can lead to financial distress in the right circumstances that we
    cannot divine them all. What we can do, case-by-case, is
    consider all relevant facts in light of the purposes of the Code.

            Financial distress must not only be apparent, but it must
    be immediate enough to justify a filing. “[A]n attenuated
    possibility standing alone” that a debtor “may have to file for
    bankruptcy in the future” does not establish good faith. SGL
    Carbon, 200 F.3d at 164; see, e.g., Baker v. Latham
    Sparrowbush Assocs. (In re Cohoes Indus. Terminal, Inc.), 931
    F.2d 222, 228 (2d Cir. 1991) (“Although a debtor need not be
    in extremis in order to file[,] . . . it must, at least, face such
    financial difficulty that, if it did not file at that time, it could
    anticipate the need to file in the future.”). Yet we recognize
    the Code contemplates “the need for early access to bankruptcy
    relief to allow a debtor to rehabilitate its business before it is
    faced with a hopeless situation.” SGL Carbon, 200 F.3d at 163.
    A “financially troubled” debtor facing mass tort liability, for
    example, may require bankruptcy to “enable a continuation of
    [its] business and to maintain access to the capital markets”
    even before it is insolvent. Id. at 169.

           Still, encouragement of early filing “does not open the
    door to premature filing.” Id. at 163. This may be a fine line
    in some cases, but our bankruptcy system puts courts, vested
    with equitable powers, in the best position to draw it.

           Risks associated with premature filing may be
    particularly relevant in the context of a mass tort bankruptcy.
    Inevitably those cases will involve a bankruptcy court
    estimating claims on a great scale—introducing the possibility
    of undervaluing future claims (and underfunding assets left to




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    satisfy them)12 and the difficulty of fairly compensating
    claimants with wide-ranging degrees of exposure and injury.
    On the other hand, a longer history of litigation outside of
    bankruptcy may provide a court with better guideposts when
    tackling these issues.13

           To take a step back, testing the nature and immediacy
    of a debtor’s financial troubles, and examining its good faith
    more generally, are necessary because bankruptcy significantly
    disrupts creditors’ existing claims against the debtor: “Chapter
    11 vests petitioners with considerable powers—the automatic

    12
       See Report of the National Bankruptcy Review Commission
    343-44 (Oct. 20, 1997) (recognizing claims-estimation
    accuracy is an important component of the integrity of the mass
    tort bankruptcy process and noting underestimation of claims
    occurred in the Johns-Manville case, one of the earliest
    asbestos bankruptcy cases, while also pointing to the adequate
    funding of trusts in subsequent cases to show those risks are
    surmountable).
    13
       For instance, the A.H. Robins claimants’ trust has been
    recognized as one that functioned effectively and remained
    solvent for years. There the Court and stakeholders had the
    benefit of data from 15 years of tort litigation by A.H. Robins
    before its filing. See Report of the National Bankruptcy
    Review Commission 328 n.813, 344-45 (Oct. 20, 1997) (citing
    Jack B. Weinstein, Individual Justice in Mass Tort Litigation:
    The Effect of Class Actions, Consolidations, and other
    Multiparty Devices 280 n.88, 326 n.149 (Northwestern Press
    1995), and Ralph R. Mabey & Peter A. Zisser, Improving
    Treatment of Future Claims: The Unfinished Business Left by
    the Manville Amendments, 69 Am. Bankr. L.J. 487, 497 n.45
    (1995)).




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    stay, the exclusive right to propose a reorganization plan, the
    discharge of debts, etc.—that can impose significant hardship
    on particular creditors. When financially troubled petitioners
    seek a chance to remain in business, the exercise of those
    powers is justified.” Integrated Telecom, 384 F.3d at 120
    (emphasis added) (citing SGL Carbon, 200 F.3d at 165-66).
    Accordingly, we have said the availability of certain debtor-
    favored Code provisions “assume[s] the existence of a valid
    bankruptcy, which, in turn, assumes a debtor in financial
    distress.” Id. at 128. Put another way, “Congress designed
    Chapter 11 to give those businesses teetering on the verge of a
    fatal financial plummet an opportunity to reorganize on solid
    ground and try again, not to give profitable enterprises an
    opportunity to evade contractual or other liability.” Cedar
    Shore Resort, Inc v. Mueller (In re Cedar Shore Resort, Inc.),
    235 F.3d 375, 381 (8th Cir. 2000) (internal quotation marks
    omitted).

            Our confidence in the conclusion that financial distress
    is vital to good faith is reinforced by the central role it plays in
    other courts’ inquiries.14 Chapter 11’s legislative history also

    14
       See, e.g., Little Creek Dev. Co. v. Commonw. Mortg. Corp.
    (In re Little Creek Dev. Co.), 779 F.2d 1068, 1072 (5th Cir.
    1986) (“Determining whether the debtor’s filing for relief is in
    good faith depends largely upon the bankruptcy court’s on-the-
    spot evaluation of the debtor’s financial condition, motives,
    and the local financial realities.”); Cedar Shore Resort, Inc.,
    235 F.3d at 379-80 (in evaluating good faith, courts “consider
    the totality of the circumstances, including . . . the debtor’s
    financial condition, motives, and the local financial realities”;
    dismissing petition, in part, because the debtor was “not in dire
    financial straits”); In re James Wilson Assocs., 965 F.2d 160,




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    suggests it was meant to “deal[] with the reorganization of a
    financially distressed enterprise.” SGL Carbon, 200 F.3d at
    166 (quoting S. Rep. No. 95-989, at 9, reprinted in 1978
    U.S.C.C.A.N. 5787, 5795).

           The takeaway here is that when financial distress is
    present, bankruptcy may be an appropriate forum for a debtor
    to address mass tort liability. Our SGL Carbon decision
    specifically addressed this in distinguishing the financial
    distress faced by Johns-Manville in its Chapter 11 case. It was
    prompted by a tide of asbestos litigation that, but for its filing,
    would have forced the debtor to book a $1.9 billion liability
    reserve “trigger[ing] the acceleration of approximately $450


    170 (7th Cir. 1992) (recognizing that, while the Code permits
    a firm to file though it is not insolvent, such filings usually
    involve “impending insolvency”); Cohoes Indus. Terminal,
    931 F.2d at 228 (in the context of whether a petition was
    frivolous under Bankruptcy Rule 9011, stating “[a]lthough a
    debtor need not be in extremis in order to file[,] . . . it must, at
    least, face such financial difficulty that, if it did not file at that
    time, it could anticipate the need to file in the future”); see also,
    e.g., Barclays-Am./Bus. Credit, Inc. v. Radio WBHP, Inc. (In
    re Dixie Broad., Inc.), 871 F.2d 1023, 1027-28 (11th Cir. 1989)
    (stating that whether a debtor is “financially distressed” is one
    factor evidencing bad faith and that “the Bankruptcy Code is
    not intended to insulate ‘financially secure’ [debtors]”);
    Carolin Corp., 886 F.2d at 701 (one prong of the good-faith
    inquiry is meant to ensure the petition bears “some relation to
    the statutory objective of resuscitating a financially troubled
    [debtor]”) (brackets in original) (citing Connell v. Coastal
    Cable T.V., Inc. (In re Coastal Cable T.V., Inc.), 709 F.2d 762,
    765 (1st Cir. 1983)).




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    million of outstanding debt, [and] possibly resulting in a forced
    liquidation of key business segments.” In re Johns-Manville
    Corp., 36 B.R. 727, 730 (Bankr. S.D.N.Y. 1984). That created
    a “compelling need [for the debtor] to reorganize in order to
    meet” its obligations to creditors. Id. This urgency stood in
    stark contrast to the circumstances in SGL Carbon, where the
    debtor faced no suits, or even liquidated judgments, that
    threatened its ongoing operations.

           A.H. Robins Company, before its bankruptcy, faced
    financial woes like Johns-Manville’s, in both cases caused by
    mass product liabilities litigation. Before filing, Robins had
    only $5 million in unrestricted funds and a “financial
    picture . . . so bleak that financial institutions were unwilling
    to lend it money.” In re A.H. Robins Co., Inc., 89 B.R. 555,
    558 (Bankr. E.D.V.A. 1988). The Court concluded Robins
    “had no choice but to file for relief under Chapter 11.” Id.

            And in Dow Corning’s Chapter 11 case, the Court
    described the company’s resolve to address mass tort liability
    as “a legitimate effort to rehabilitate a solvent but financially-
    distressed corporation.” In re Dow Corning Corp., 244 B.R.
    673, 676-77 (Bankr. E.D. Mich. 1999) (emphasis added). It
    specifically recognized that “the legal costs and logistics of
    defending the worldwide product liability lawsuits against the
    [d]ebtor threatened its vitality by depleting its financial
    resources and preventing its management from focusing on
    core business matters.” Id. at 677.

           These cases show that mass tort liability can push a
    debtor to the brink. But to measure the debtor’s distance to it,
    courts must always weigh not just the scope of liabilities the
    debtor faces, but also the capacity it has to meet them. We now




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    go there, but only after detouring to a problem particular to our
    case: For good-faith purposes, should we judge the financial
    condition of LTL by looking to Old Consumer—the operating
    business with valuable assets, but damaging tort liability, that
    the restructuring and filing here aimed to protect? Or should
    we look to LTL, the entity that actually filed for bankruptcy?
    Or finally, like the Bankruptcy Court, should we consider “the
    financial risks and burdens facing both Old [Consumer] and
    [LTL]”? App. 14 (Mot. to Dismiss Op. 14).

       D. Only LTL’s Financial Condition is Determinative.

            Weighing the totality of facts and circumstances might
    seem on the surface to require that we evaluate the state of
    affairs of both Old Consumer and LTL when judging the
    latter’s financial distress.      That said, we must not
    underappreciate the financial reality of LTL while unduly
    elevating the comparative relevance of its pre-bankruptcy
    predecessor that no longer exists. Even were we unable to
    distinguish the financial burdens facing the two entities, we can
    distinguish their vastly different sets of available assets to
    address those burdens. On this we part from the Bankruptcy
    Court.

             Thus for us, the financial state of LTL—a North
    Carolina limited liability company formed under state law and
    existing separate from both its predecessor company (Old
    Consumer) and its newly incorporated counterpart company
    (New Consumer)—should be tested independent of any other
    entity. That means we focus on its assets, liabilities, and,
    critically, the funding backstop it has in place to pay those
    liabilities.




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            Doing so reflects the principle that state-law property
    interests should generally be given the same effect inside and
    outside bankruptcy: “Property interests are created and defined
    by state law. Unless some federal interest requires a different
    result, there is no reason why such interests should be analyzed
    differently simply because an interested party is involved in a
    bankruptcy proceeding.” Butner v. United States, 440 U.S. 48,
    55 (1979). No one doubts that the state-law divisional merger
    passed talc liabilities to LTL. Why in bankruptcy would we
    recognize the effectiveness of this state-law transaction, but at
    the same time ignore others that augment LTL’s assets, such as
    its birth gift of the Funding Agreement? To say the financial
    condition of Old Consumer prior to the restructuring—which
    was not bolstered by such a contractual payment right—
    determines the availability of Chapter 11 to LTL would impose
    on the latter a lookback focused on the nonavailability of a
    funding backstop to what is now a nonentity.

           Instead, we must evaluate the full set of state-law
    transactions involving LTL to understand the makeup of its
    financial rights and obligations that, in turn, dictate its financial
    condition. Even were we to agree that the full suite of
    reorganizational steps was a “single integrated transaction,”
    App. 43 (Mot. to Dismiss Op. 43), this conclusion does not
    give us license to look past its effect: the creation of a new
    entity with a unique set of assets and liabilities, and the
    elimination of another. Only the former is in bankruptcy and
    subject to its good-faith requirement. See Ralph Brubaker,
    Assessing the Legitimacy of the “Texas Two-Step” Mass-Tort
    Bankruptcy, 42 No. 8 Bankr. L. Letter NL 1 (Aug. 2022)
    (observing that the Bankruptcy Code is designed to address the
    financial distress of the entity in bankruptcy).




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             We cannot say a “federal interest requires a different
    result.” See Butner, 440 U.S. at 55. That is because the
    Bankruptcy Code is an amalgam of creditor-debtor tradeoffs
    balanced by a Congress that assumed courts applying it would
    respect the separateness of legal entities (and their respective
    assets and liabilities). “[T]he general expectation of state law
    and of the Bankruptcy Code . . . is that courts respect entity
    separateness absent compelling circumstances calling
    equity . . . into play.” In re Owens Corning, 419 F.3d 195, 211
    (3d Cir. 2005). Put differently, as separateness is foundational
    to corporate law, which in turn is a predicate to bankruptcy law,
    it is not easily ignored. It is especially hard to ignore when
    J&J’s pre-bankruptcy restructuring—ring-fencing talc
    liabilities in LTL and forming the basis for this filing—
    depended on courts honoring this principle.

            The Bankruptcy Code is designed in important part to
    protect and distribute a debtor’s assets to satisfy its liabilities.
    It strains logic then to say the condition of a defunct entity
    should determine the availability of Chapter 11 to the only
    entity subject to it. To do so would introduce uncertainty
    regarding how far back and to what entities a court can look
    when evaluating a debtor’s financial distress.

            Thus, while we agree with the Bankruptcy Court that
    both entities are part of our discussion of financial distress, the
    financial condition of Old Consumer is relevant only to the
    extent it informs our view of the financial condition of LTL
    itself.
                E. LTL Was Not in Financial Distress.

           With our focus properly set, we now evaluate the
    financial condition of LTL. It is here we most disagree with




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    the Bankruptcy Court, as it erred by overemphasizing the
    relevance of Old Consumer’s financial condition. And while
    we do not second-guess its findings on the scope and costs of
    talc exposure up to the filing date, we do not accept its
    projections of future liability derived from those facts.

          After these course corrections, we cannot agree LTL
    was in financial distress when it filed its Chapter 11 petition.
    The value and quality of its assets, which include a roughly
    $61.5 billion payment right against J&J and New Consumer,
    make this holding untenable.

           The Funding Agreement merits special mention. To
    recap, under it LTL had the right, outside of bankruptcy, to
    cause J&J and New Consumer, jointly and severally, to pay it
    cash up to the value of New Consumer as of the petition date
    (estimated at $61.5 billion) to satisfy any talc-related costs and
    normal course expenses. Plus this value would increase as the
    value of New Consumer’s business and assets increased. App.
    4316-17 (Funding Agreement 4-5, § 1 Definition of “JJCI
    Value”).15 The Agreement provided LTL a right to cash that
    was very valuable, likely to grow, and minimally conditional.
    And this right was reliable, as J&J and New Consumer were
    highly creditworthy counterparties (an understatement) with
    the capacity to satisfy it.




    15
      While, as described above, the uses for which LTL may draw
    on the payment right change in bankruptcy (i.e., LTL is
    permitted to draw on it to fund a claimant trust and satisfy
    administrative expenses), we focus on the rights available to it
    just prior to its filing for good-faith purposes.




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           As for New Consumer, it had access to Old Consumer’s
    cash-flowing brands and products along with the profits they
    produced, which underpinned the $61.5 billion enterprise value
    of New Consumer as of LTL’s filing. And the sales and
    adjusted income of the consumer health business showed
    steady growth in the last several years when talc costs were
    excluded. Most important, though, the payment right gave
    LTL direct access to J&J’s exceptionally strong balance sheet.
    At the time of LTL’s filing, J&J had well over $400 billion in
    equity value with a AAA credit rating and $31 billion just in
    cash and marketable securities. It distributed over $13 billion
    to shareholders in each of 2020 and 2021. It is hard to imagine
    a scenario where J&J and New Consumer would be unable to
    satisfy their joint obligations under the Funding Agreement.
    And, of course, J&J’s primary, contractual obligation to fund
    talc costs was one never owed to Old Consumer (save for the
    short moment during the restructuring that it was technically a
    party to the Funding Agreement).

           Yet the Bankruptcy Court hardly considered the value
    of LTL’s payment right to its financial condition. True, it
    noted its jurisdictional authority could “ensure that [LTL]
    pursue[d] its available rights” under the Funding Agreement.
    App. 43 (Mot. to Dismiss Op. 43). But, in discussing LTL’s
    financial condition, the Court was “at a loss to understand,
    why—merely because [LTL] contractually has the right to
    exhaust its funding options [under the Funding Agreement]”—
    it was “not to be regarded as being in ‘financial distress.’”
    App. 35 (Id. at 35). It speculated that a draw on the payment
    right could force J&J to deplete its available cash or pursue a
    forced liquidation of New Consumer and have a “horrific
    impact” on those companies. Id. The assumption seems to be
    that, out of concern for its affiliates, LTL may avoid drawing




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    on the payment right to its full amount. But this is unsupported
    and disregards the duty of LTL to access its payment assets.

           Ultimately, whether this assumption was made or not,
    the Bankruptcy Court did not consider the full value of LTL’s
    backstop when judging its financial condition. And at the same
    time it acutely focused on how talc litigation affected Old
    Consumer. See, e.g., App. 34 (Mot. to Dismiss Op. 34) (“The
    evidence confirms that the talc litigation . . . forced Old
    [Consumer] into a loss position in 2020”); App. 36 (Id. at 36)
    (“Old [Consumer] was not positioned to continue making
    substantial [t]alc [l]itigation payments”); App. 38 (Id. at 38)
    (“Old [Consumer] need not have waited until its viable
    business operations were threatened past the breaking point”)
    (emphasis added in each citation). Directing its sight to Old
    Consumer and away from the Funding Agreement’s benefit to
    LTL essentially made the financial means of Old Consumer,
    and not LTL, the lodestar of the Court’s financial-distress
    analysis. This misdirection was legal error.

            We also find a variable missing in the Bankruptcy
    Court’s projections of future liability for LTL extrapolated
    from the history of Old Consumer’s talc litigation: the latter’s
    successes. To reiterate, before bankruptcy Old Consumer had
    settled about 6,800 talc-related claims for under $1 billion and
    obtained dismissals of about 1,300 ovarian cancer and over 250
    mesothelioma claims without payment. And a minority of the
    completed trials resulted in verdicts against it (with some of
    those verdicts reversed on appeal). Yet the Court invoked
    calculations that just the legal fees to defend all existing
    ovarian cancer claims (each through trial) would cost up to
    $190 billion. App. 37 (Id. at 37). It surmised “one could
    argue” the exposure from the existing mesothelioma claims




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    alone exceeded $15 billion. App. 17 (Id. at 17). These
    conjectures ballooned its conclusion that, “[e]ven without a
    calculator or abacus, one can multiply multi-million dollar or
    multi-billion dollar verdicts by tens of thousands of existing
    claims, let alone future claims,” to see that “the continued
    viability of all J&J companies is imperiled.” App. 36 (Id. at
    36).

            What these projections ignore is the possibility of
    meaningful settlement, as well as successful defense and
    dismissal, of claims by assuming most, if not all, would go to
    and succeed at trial. In doing so, these projections contradict
    the record. And while the Bankruptcy Court questioned the
    continuing relevance of the past track record after Ingham and
    the breakdown of the Imerys settlement talks, this assumes too
    much too early. Nothing in the record suggests Ingham—one
    of 49 pre-bankruptcy trials and described even by J&J as
    “unique” and “not representative,” App. 2692-93—was the
    new norm. Nor is there anything that shows all hope of a
    meaningful global or near-global settlement was lost after the
    initial Imerys offer was rebuffed. The Imerys bankruptcy
    remained a platform to negotiate settlement. And the
    progression of the multidistrict litigation on a separate track
    would continue to sharpen all interested parties’ views of
    mutually beneficial settlement values.

            Finally, we cannot help noting that the casualness of the
    calculations supporting the Court’s projections engenders
    doubt as to whether they were factual findings at all, but instead
    back-of-the-envelope forecasts of hypothetical worst-case
    scenarios. Still, to the extent they were findings of fact, we
    cannot say these were inferences permissibly drawn and
    entitled to deference. See Universal Mins., 669 F.2d at 102.




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    And as we locate no other inferences or support in the record
    to bear the Court’s assertion that the “talc liabilities” “far
    exceed [LTL’s] capacity to satisfy [them],” we cannot accept
    this conclusion either.16 App. 23 (Mot. to Dismiss Op. 23).

             In this context, it becomes clear that, on its filing, LTL
    did not have any likely need in the present or the near-term, or
    even in the long-term, to exhaust its funding rights to pay talc
    liabilities. In the over five years of litigation to date, the
    aggregate costs had reached $4.5 billion (less than 7.5% of the
    $61.5 billion value on the petition date), with about half of
    these costs attributable to one ovarian cancer verdict, Ingham,

    16
        Because we arrive at the same result assuming the
    Bankruptcy Court was correct to determine LTL was
    responsible to indemnify J&J for all talc costs it incurs, we
    need not opine on this conclusion. Still, we note certain
    pertinent factors lack full discussion in the Court’s analysis of
    the indemnity agreement relating to Johnson’s Baby Powder in
    the 1979 Spin Off. App. 163-69 (Third-Party Inj. Op. 24-30).
    For example, it is not obvious LTL must indemnify J&J for the
    latter’s independent, post-1979 conduct that is the basis of a
    verdict rendered against it. See App. 4957 (Agreement for
    Transfer of Assets and Bill of Sale 5 ¶ 4) (Old Consumer’s
    predecessor agrees to assume and indemnify J&J against
    “all . . . liabilities and obligations of every kind and description
    which are allocated on the books or records of J&J as
    pertaining to the BABY Division.”) (emphasis added). It is
    also not clear the indemnity should be read to reach punitive
    damage verdicts rendered against J&J for its own conduct.
    Additionally, the Court never discussed how it reached its
    conclusion that Old Consumer assumed responsibility from
    J&J for all claims relating to Shower to Shower.




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    to date an outlier victory for plaintiffs. While the number of
    talc claims had surged in recent years, still J&J, as of October
    2021, valued the probable and reasonably estimable contingent
    loss for its products liability litigation, including for talc, under
    GAAP, at $2.4 billion for the next two years. Further, though
    settlement offers are only that, we do not disregard LTL’s
    suggestion that $4 billion to $5 billion was at one time
    considered by plaintiffs’ lawyers to be in the ballpark to resolve
    virtually all multidistrict ovarian cancer claims as well as
    corresponding additional claims in the Imerys bankruptcy.
    And as noted, we view all this against a pre-bankruptcy
    backdrop where Old Consumer had success settling claims or
    obtaining dismissal orders, and where, at trial, ovarian cancer
    plaintiffs never won verdicts that withstood appeal outside of
    Ingham and mesothelioma plaintiffs had odds of prevailing
    that were less than stellar.

            From these facts—presented by J&J and LTL
    themselves—we can infer only that LTL, at the time of its
    filing, was highly solvent with access to cash to meet
    comfortably its liabilities as they came due for the foreseeable
    future. It looks correct to have implied, in a prior court filing,
    that there was not “any imminent or even likely need of [it] to
    invoke the Funding Agreement to its maximum amount or
    anything close to it.” App. 3747 (LTL’s Obj. to Mots. for Cert.
    of Direct Appeal 22) (emphasis added). Indeed, the Funding
    Agreement itself recited that LTL, after the divisional merger
    and assumption of that Agreement, held “assets having a value
    at least equal to its liabilities and had financial capacity
    sufficient to satisfy its obligations as they become due in the
    ordinary course of business, including any [t]alc [r]elated
    [l]iabilities.” App. 4313 (Funding Agreement 1, ¶ E)
    (emphasis added).




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            We take J&J and LTL at their word and agree. LTL has
    a funding backstop, not unlike an ATM disguised as a contract,
    that it can draw on to pay liabilities without any disruption to
    its business or threat to its financial viability. It may be that a
    draw under the Funding Agreement results in payments by
    New Consumer that in theory might someday threaten its
    ability to sustain its operational costs. But those risks do not
    affect LTL, for J&J remains its ultimate safeguard. And we
    cannot say any potential liquidation by LTL of Royalty
    A&M—a collection of bare rights to streams of payments
    cobbled together on the eve of bankruptcy—to pay talc costs
    would amount to financial distress. Plus LTL had no
    obligation, outside of bankruptcy, to sell those assets for cash
    before drawing on the Funding Agreement.

           At base level, LTL, whose employees are all J&J
    employees, is essentially a shell company “formed,” almost
    exclusively, “to manage and defend thousands of talc-related
    claims” while insulating at least the assets now in New
    Consumer. App. 449 (Decl. of John Kim 5). And LTL was
    well-funded to do this. As of the time of its filing, we cannot
    say there was any sign on the horizon it would be anything but
    successful in the enterprise. It is even more difficult to say it
    faced any “serious financial and/or managerial difficulties”
    calling for the need to reorganize during its short life outside
    of bankruptcy. SGL Carbon, 200 F.3d at 164.17


    17
       In saying the nature of the payment right and a lack of
    meaningful operations show that LTL did not suffer from
    sufficient kinds of financial distress, we focus on the special
    circumstances here and do not suggest the presence of these




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            But what if, contrary to J&J’s statements, Ingham is not
    an anomaly but a harbinger of things to come? What if time
    shows, with the progression of litigation outside of bankruptcy,
    that cash available under the Funding Agreement cannot
    adequately address talc liability? Perhaps at that time LTL
    could show it belonged in bankruptcy. But it could not do so
    in October 2021. While LTL inherited massive liabilities, its
    call on assets to fund them exceeded any reasonable
    projections available on the record before us. The “attenuated
    possibility” that talc litigation may require it to file for
    bankruptcy in the future does not establish its good faith as of
    its petition date. Id. at 164. At best the filing was premature.18

            In sum, while it is unwise today to attempt a tidy
    definition of financial distress justifying in all cases resort to
    Chapter 11, we can confidently say the circumstances here fall
    outside those bounds. Because LTL was not in financial




    characteristics would preclude a finding of financial distress in
    every case.
    18
       Some might read our logic to suggest LTL need only part
    with its funding backstop to render itself fit for a renewed
    filing. While this question is also premature, we note
    interested parties may seek to “avoid any transfer” made within
    two years of any bankruptcy filing by a debtor who “receive[s]
    less than a reasonably equivalent value in exchange for such
    transfer” and “became insolvent as a result of [it].” 11 U.S.C.
    § 548(a). So if the question becomes ripe, the next one might
    be: Did LTL receive reasonably equivalent value in exchange
    for forgoing its rights under the Funding Agreement?




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    distress, it cannot show its petition served a valid bankruptcy
    purpose and was filed in good faith under Code § 1112(b).19

     F. “Unusual Circumstances” Do Not Preclude Dismissal

             The Bankruptcy Court held, as an independent basis for
    its decision, that even if LTL’s petition were not filed in good
    faith, § 1112(b)(2) of the Code authorized it nonetheless to
    deny dismissal. For a petition to be saved under that provision,
    a court must identify “unusual circumstances establishing that
    . . . [dismissal] is not in the best interests of creditors and the
    estate.” 11 U.S.C. § 1112(b)(2). The debtor (or any other party
    in interest) must also establish “the grounds for . . . [dismissal]
    include an act or omission” (1) “for which there exists a
    reasonable justification” and (2) “that will be cured within a
    reasonable period of time.” Id.

           The Bankruptcy Court ruled that “the interests of
    current tort creditors and the absence of viable protections for
    future tort claimants outside of bankruptcy . . . constitute such

    19
       Because we conclude LTL’s petition has no valid bankruptcy
    purpose, we need not ask whether it was filed “merely to obtain
    a tactical litigation advantage.” BEPCO, 589 F.3d at 618. Yet
    it is clear LTL’s bankruptcy filing aimed to beat back talc
    litigation in trial courts. Still “[i]t is not bad faith to seek to
    gain an advantage from declaring bankruptcy—why else
    would one declare it?” James Wilson Assoc., 965 F.2d at 170.
    While we ultimately leave the question unaddressed, a filing to
    change the forum of litigation where there is no financial
    distress raises, as it did in SGL Carbon, the specter of “abuse
    which must be guarded against to protect the integrity of the
    bankruptcy system.” 200 F.3d at 169.




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    ‘unusual circumstances’ as to preclude . . . dismissal.” App.
    13 (Mot. to Dismiss Op. 13 n.8). But what is unusual instead
    is that a debtor comes to bankruptcy with the insurance
    accorded LTL. Our ground for dismissal is LTL’s lack of
    financial distress. No “reasonable justification” validates that
    missing requirement in this case. And we cannot currently see
    how its lack of financial distress could be overcome. For these
    reasons, we go counter to the Bankruptcy Court’s conclusion
    that “unusual circumstances” sanction LTL’s Chapter 11
    petition.

    III. CONCLUSION

            Our decision dismisses the bankruptcy filing of a
    company created to file for bankruptcy. It restricts J&J’s
    ability to move thousands of claims out of trial courts and into
    bankruptcy court so they may be resolved, in J&J’s words,
    “equitably” and “efficiently.” LTL Br. 8. But given Chapter
    11’s ability to redefine fundamental rights of third parties, only
    those facing financial distress can call on bankruptcy’s tools to
    do so. Applied here, while LTL faces substantial future talc
    liability, its funding backstop plainly mitigates any financial
    distress foreseen on its petition date.

           We do not duck an apparent irony: that J&J’s triple A-
    rated payment obligation for LTL’s liabilities, which it views
    as a generous protection it was never required to provide to
    claimants, weakened LTL’s case to be in bankruptcy. Put
    another way, the bigger a backstop a parent company provides
    a subsidiary, the less fit that subsidiary is to file. But when the
    backstop provides ample financial support to a debtor who then
    seeks shelter in a system designed to protect those without it,
    we see this perceived incongruity dispelled.




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           That said, we mean not to discourage lawyers from
    being inventive and management from experimenting with
    novel solutions. Creative crafting in the law can at times
    accrue to the benefit of all, or nearly all, stakeholders. Thus
    we need not lay down a rule that no nontraditional debtor could
    ever satisfy the Code’s good-faith requirement.

           But here J&J’s belief that this bankruptcy creates the
    best of all possible worlds for it and the talc claimants is not
    enough, no matter how sincerely held. Nor is the Bankruptcy
    Court’s commendable effort to resolve a more-than-thorny
    problem. These cannot displace the rule that resort to Chapter
    11 is appropriate only for entities facing financial distress.
    This safeguard ensures that claimants’ pre-bankruptcy
    remedies—here, the chance to prove to a jury of their peers
    injuries claimed to be caused by a consumer product—are
    disrupted only when necessary.

            Some may argue any divisional merger to excise the
    liability and stigma of a product gone bad contradicts the
    principles and purposes of the Bankruptcy Code. But even that
    is a call that awaits another day and another case. For here the
    debtor was in no financial distress when it sought Chapter 11
    protection. To ignore a parent (and grandparent) safety net
    shielding all liability then foreseen would allow tunnel vision
    to create a legal blind spot. We will not do so.

           We thus reverse the Bankruptcy Court’s order denying
    the motions to dismiss and remand this case with the
    instruction to dismiss LTL’s Chapter 11 petition. Dismissing
    its case annuls the litigation stay ordered by the Court and
    makes moot the need to decide that issue.




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